     Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.1 Filed 02/23/22 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED WHOLESALE MORTGAGE,                        Case No.
LLC                                               Hon.

        Plaintiff,

v.                                                JURY TRIAL DEMANDED

KEVRON INVESTMENTS, INC.,

        Defendant.


                                   COMPLAINT

        Plaintiff United Wholesale Mortgage, LLC (“Plaintiff” or “UWM”), submits

the following Complaint against Defendant Kevron Investments, Inc. (“Defendant”

or “Kevron”):

                                     PARTIES

        1.     UWM is a Michigan limited liability company with its principal place

of business at 585 South Boulevard East, Pontiac, Michigan 48341. UWM’s sole

member is UWM Holdings, LLC, which is comprised of two members, SFS Holding

Corp. and UWM Holdings Corporation. SFS Holding Corp. is incorporated in

Michigan and has its principal place of business at 585 South Boulevard East,

Pontiac, Michigan 48341. UWM Holdings Corporation is incorporated in Delaware
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.2 Filed 02/23/22 Page 2 of 9




and has its principal place of business at 585 South Boulevard East, Pontiac,

Michigan 48341.

      2.     Upon information and belief, Defendant Kevron is incorporated in

California with its principal place of business at 2659 Townsgate Road, Suite 115,

Westlake Village, California 91361.

                          JURISDICTION AND VENUE

      3.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332 because this Complaint states an action that is between citizens of

different states and, as set out below, involves an amount in controversy that exceeds

$75,000, exclusive of interest and costs.

      4.     This Court has jurisdiction over Kevron because Kevron has

established minimum contacts with the State of Michigan by, among other things,

entering into a contract with a Michigan company, such that the exercise of personal

jurisdiction will not offend traditional notions of fair play and substantial justice.

      5.     This Court also has jurisdiction over Kevron because Kevron agreed to

submit any action arising out of its Wholesale Broker Agreement with UWM to the

exclusive jurisdiction of this Court in this District and waived its right to challenge

this Court’s personal jurisdiction over it. See 2020 Wholesale Broker Agreement,

Ex. A, at ¶ 7.15; 2021 Wholesale Broker Agreement, Ex. B, at ¶ 7.15.




                                            2
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.3 Filed 02/23/22 Page 3 of 9




      6.     Venue in this District is proper under 28 U.S.C. §§ 1391(b) because a

substantial part of the events or omissions giving rise to the claim occurred in this

District. Further, in the Wholesale Broker Agreement, the parties agreed that they

would submit any action arising out of the Agreement to this Court in this District.

See id.

                          GENERAL ALLEGATIONS

      7.     UWM is a Pontiac, Michigan-based wholesale mortgage lender who

works exclusively with independent mortgage brokers and non-delegated

correspondent lenders (“Broker Partners”) across the country.

      8.     UWM itself does not work directly with borrowers—as do retail

lenders—until after a loan has funded. Rather, the Broker Partners communicate

directly with borrowers and select from over 100 wholesale lenders to choose the

lender and loan product they believe to be the borrower’s best option.

      9.     UWM provides its Broker Partners considerable resources, including

technology, marketing materials, compliance support, training, and more to help the

Broker Partners compete, win, and grow their business.

      10.    UWM’s investment into and support of its Broker Partners is meant to

distinguish UWM’s exceptional services and those of its Broker Partners from

UWM’s competitors. UWM takes these investments seriously and expends




                                         3
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.4 Filed 02/23/22 Page 4 of 9




significant resources to enhance the business of its Broker Partners, as UWM’s

success is dependent on the long-term success of its Broker Partners.

      11.    Kevron is an independent mortgage broker. Kevon advertises itself as

a full-service mortgage broker with many years of home loan experience and a

specialty in fast funding transactions.

      12.    Kevron’s growth and success in the mortgage industry is partially

attributed to UWM’s investment in and support provided to Kevron as one of its

Broker Partners.

      13.    In July 2019, Kevron elected to avail itself of UWM’s products,

services, and resources and entered a Wholesale Broker Agreement with UWM. See

Ex. A. The Wholesale Broker Agreement was subsequently amended and agreed to

by the parties in 2021. Ex. B (the “Agreement”).

      14.    Under the Agreement, Kevron agreed to “offer to UWM for potential

purchase and/or funding certain FHA, VA, USDA, conventional, jumbo and/or non-

agency mortgage loans as well as select bond program mortgage loans which fall

within the parameters of UWM’s mortgage loan products.” Ex. B, at p. 1; see also

Ex. A, at p. 1.

      15.    The Agreement makes clear that Kevron “shall not be obligated to

submit any particular mortgage loan applications or any minimum number of loan

applications to UWM.” Ex. B, at ¶ 7.03; see also Ex. A, at ¶ 7.03.

                                          4
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.5 Filed 02/23/22 Page 5 of 9




      16.    Further, since entering into the Agreement, Kevron has been free to

terminate the Agreement for any time and for any reason, upon seven days prior

written notice. See Ex. A, at ¶ 7.06; Ex. B, at ¶ 7.06. Likewise, UWM also may

terminate the Agreement for any time and for any reason, upon seven days prior

written notice. See id.

      17.    Kevron made certain warranties and representations to UWM “with

regard to each Mortgage Loan [Kevron] submitted to UWM for underwriting,

purchase, and/or funding that [were to be] true, complete and correct in all material

respects as of the date of such submission.” Ex. A, at ¶ 3.03; Ex. B, at ¶ 3.03.

      18.    On March 4, 2021, UWM announced its “All-In Initiative,” stating it

had decided to end its business relationship with Broker Partners who chose to

continue originating loans with select retail lenders specified in the Agreement (the

“Select Retail Lenders”). This decision was made by UWM knowing it may result

in ending relationships with existing Broker Partners but was necessary to protect

the long-term viability of the wholesale mortgage channel. As was explained by

UWM through wide-spread financial media coverage, UWM believes the Select

Retail Lenders’ business model negatively impacts consumers, brokers, and the

wholesale mortgage channel in general.




                                          5
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.6 Filed 02/23/22 Page 6 of 9




      19.    In November 2021, Kevron agreed to the most recent iteration of the

“All-In Addendum,” specifically paragraphs 3.03(x) and 7.30 of the Agreement. See

Ex. B, at ¶¶ 3.03(x), 7.30.

      20.    The All-In Addendum amended the Agreement by adding a warranty

and representation that Kevron would not submit loans to the Select Retail Lenders,

and if it did, such submissions would constitute a breach of the Agreement. See id.

      21.    Specifically, under the All-In Addendum, Kevron “warrants,

represents, and covenants to UWM with regard to each Mortgage Loan submitted to

UWM for underwriting, purchase, and/or funding that . . . [it] will not submit a

mortgage loan or mortgage loan application to Rocket Mortgage or Fairway

Independent Mortgage for review, underwriting, purchase, and/or funding.” Id. at ¶

3.03(x).

      22.    Since agreeing to the All-In Addendum in March 2021, Kevron has

submitted at least 22 mortgage loans to the Select Retail Lenders.

      23.    Kevron’s mortgage loan submissions to the Select Retail Lenders is in

direct violation of Paragraph 3.03(x) of the Agreement.

      24.    Indeed, if Kevron sought to do business with the Select Retail Lenders,

they could have immediately done so by terminating the Agreement before

submitting the loan(s) to the Select Retail Lenders. But instead, Kevron elected to

continue doing business with and benefit from UWM while simultaneously

                                         6
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.7 Filed 02/23/22 Page 7 of 9




breaching the Agreement by submitting loans to the Select Retail Lenders.

      25.    Kevron’s mortgage loan submissions to the Select Retail Lenders have

damaged UWM in various ways, including but not limited to, allowing Kevron to

reap the benefits of UWM’s investments in and services provided to it as a Broker

Partner, including UWM’s propriety technology, without complying with the

Agreement’s requirements, and more importantly, by intentionally and directly

undermining the entire purpose of the All-In Intuitive.

      26.    Further, Kevron agreed under the All-In Addendum to pay liquidated

damages as follows for any breach of the Addendum:

      [Kevron] and UWM agree that the measure of damages in the event of
      a breach of [Kevron’s] representation and warranty under Section
      3.03(x) may be difficult, if not impossible, to ascertain. Accordingly, in
      the event of a violation of Section 3.03(x), [Kevron] shall immediately
      pay to UWM the greater of: (i) Five Thousand Dollars ($5,000.00) per
      loan closed with Rocket Mortgage, Fairway Independent Mortgage or
      subject to Section 3.03(x), an Acquired Lender, or (ii) Fifty Thousand
      Dollars ($50,000.00), as liquidated damages for such breach without
      the need for proof of damages by UWM. UWM’s right to liquidated
      damages are in addition to (not in lieu of) any other monetary or other
      remedies UWM may have under this Agreement and/or applicable law.

Ex. B, at ¶ 7.30.

      27.    Under Paragraph 7.30 of the Agreement, Kevron’s submission of at

least 22 mortgage loans to the Select Retail Lenders equate to at least $110,000.00

in liquidated damages.




                                          7
   Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.8 Filed 02/23/22 Page 8 of 9




      28.    Kevron further agreed that:

      In the event a dispute arises under this Agreement between Broker and
      UWM, which dispute results in legal action being taken by one or both
      of the parties, the prevailing party shall be entitled to recover its
      reasonable attorney fees, costs and other expenses associated with the
      enforcement of its rights under this Agreement, and the non-prevailing
      party hereby agrees to promptly pay same.

Ex. A, at ¶ 7.16; Ex. B, at ¶ 7.16.

                                  COUNT ONE
                               BREACH OF CONTRACT

      29.    Paragraphs 1 through 28 are incorporated by reference as if fully stated

herein.

      30.    The Agreement, as amended by the All-In Addendum, is a valid

contract that binds Kevron and UWM.

      31.    The Agreement, as amended by the All-In Addendum, prohibited

Kevron from submitting mortgage loans to the Select Retail Lenders.

      32.    Kevron breached the Agreement, as amended by the All-In Addendum,

by submitting at least 22 mortgage loans to the Select Retail Lenders.

      33.    As a result, UWM has suffered damages, both pursuant to the

Agreement’s liquidated damages provision in the amount of at least $110,000.00,

and through negative effects to its business model.

                              PRAYER FOR RELIEF

      34.    UWM respectfully requests that the Court enter a judgment finding that

                                           8
  Case 2:22-cv-10395-DPH-CI ECF No. 1, PageID.9 Filed 02/23/22 Page 9 of 9




Kevron breached the Agreement and awarding the following to UWM:

           A.    Damages in the amount of at least $110,000.00;

           B.    Other compensatory damages relating to Kevron’s breach;

           C.    Attorney fees, costs, and other expenses UWM incurred in this
                 action;

           D.    Pre- and post-judgment interest;

           E.    Such other and further relief as the Court may deem just and
                 proper.

                               JURY DEMAND

     UWM respectfully demands a trial by jury on all issues triable by jury.

Dated: February 23, 2022                Respectfully submitted,

                                        By: /s/ William E. McDonald
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                                       9
